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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                               CRIMINAL NO. 18-193-1, 2


               v.

DKYLE JAMAL BRIDGES,
KRISTIAN JONES
          Defendants

                                       ORDER

      AND NOW, this    6th   day of November 2018, upon consideration of the motion to

sever filed by Defendant Dkyle Jamal Bridges, (Doc. 48), the motion for severance of

Defendants' trials pursuant to Rule 14 of the Federal Rules of Criminal Procedure filed by

Defendant Kristian Jones (Doc. 50), and the Government's omnibus response thereto, (Doc.

8 1), it is hereby ORDERED that the Defendants' motion to     sever~_,    (Doc. 48 and 50) are

DENIED.


                                         BY THE COURT:              ·I
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                                         Isl Nitza I Quinones Alejanc{r___o_ _ _ __
                                         NITZA I. QUINONES ALI~:JANDROI
                                         Judge, United States Distric, Court

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